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            In the United States Court of Federal Claims
                                     No. 02-70C
                                (Filed April 28, 2006)

*************************************
THE FEDERAL GROUP, INC.              *
                          Plaintiff, *
                                     *
               v.                    *
                                     *
THE UNITED STATES,                   *
                                     *
                          Defendant. *
*************************************

                                       ORDER

       On April 27, 2006, parties filed a Joint Status Report. The parties request that
the court permit them until June 30, 2006, to resolve the issue concerning the
continuing performance of the contract and to file a stipulation of dismissal or a status
report with respect to their progress.

       Accordingly, it is ORDERED that parties shall file a stipulation of dismissal
or a status report with respect to their progress on or before June 30, 2006.




                                               s/ James F. Merow
                                               James F. Merow
                                               Senior Judge
